      Case 3:23-cv-00201-WHO Document 131 Filed 12/01/23 Page 1 of 2



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 7
                                UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA
 9
                                     SAN FRANCISCO DIVISION
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     SARAH ANDERSEN, an individual;                 Case No. 3:23-cv-00201-WHO
12   KELLY MCKERNAN, an individual;
     KARLA ORTIZ, an individual,                    [PROPOSED] ORDER GRANTING COOLEY
13                                                  LLP’S MOTION TO WITHDRAW AS
        Individual and Representative Plaintiffs,   COUNSEL FOR DEFENDANT MIDJOURNEY,
14                                                  INC.
           v.
15
     STABILITY AI LTD., a UK corporation;           Judge:      Hon. William H. Orrick
16   STABILITY AI, INC., a Delaware                 Trial Date: None Set
     corporation; MIDJOURNEY, INC., a               Date Action Filed: January 13, 2023
17   Delaware corporation; DEVIANTART, INC.,
     a Delaware corporation,
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                                     Defendants.
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                                                                     [PROPOSED] ORDER GRANTING
                                                              COOLEY LLP’S MOTION TO WITHDRAW
                                                                   CASE NO.: 3:23-CV-00201-WHO
      Case 3:23-cv-00201-WHO Document 131 Filed 12/01/23 Page 2 of 2



 1          Cooley LLP’s Motion to Withdraw as counsel for Defendant Midjourney, Inc.

 2   (“Defendant”) was considered by the Honorable William H. Orrick, Judge of the U.S. District Court

 3   for the Northern District of California. The Court, having considered all papers and pleadings

 4   submitted by the parties, and being fully advised, finds that the motion should be granted.

 5          IT IS THEREFORE ORDERED that Cooley LLP is granted leave to withdraw as counsel

 6   for the Defendant. The Clerk of the Court is directed to update the Court’s ECF system to reflect

 7   the withdrawal of Judd D. Lauter, Esq., Kayla Elizabeth Blaker, Esq. and James Asheton Lemay,

 8   Esq. of Cooley LLP as counsel for Defendant.

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10   IT IS SO ORDERED.

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12   Dated:December 1, 2023                                   _______________________________
                                                               HON. WILLIAM H. ORRICK
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                                                               United States District Judge
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                                                                            [PROPOSED] ORDER GRANTING
                                                      1              COOLEY LLP’S MOTION TO WITHDRAW
                                                                          CASE NO.: 3:23-CV-00201-WHO
